Case 1:03-cr-00023-MSK Document 57 Filed 03/30/06 USDC Colorado Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Case No.: 03-cr-00023-MSK

UNITED STATES OF AMERICA

        Plaintiff,

v.

SCOTT KIMBALL,

        Defendant.



                                      ORDER OF DETENTION


        THIS MATTER came before the Court for a detention hearing on March 30, 2006. Present
were the following: William Taylor, Assistant United States Attorney, Robert Berger, counsel for the
defendant, and the defendant. The Court reviewed the entire case file and considered the comments of
counsel.

       The Court has concluded, by a preponderance of the evidence, that no condition or
combination of conditions of release will reasonably assure the appearance of the defendant, based
upon the attached findings.

        IT IS HEREBY ORDERED that the defendant is committed to the custody of the Attorney
General or their designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal;
and

        IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity to
consult confidentially with defense counsel; and

       IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney for the
United States of America, the person in charge of the corrections facility shall deliver defendant to the
United States Marshal for the purpose of an appearance in connection with this proceeding.

        DATED and ENTERED this 30th day of March, 2006.

                                                     By the Court:

                                                     s/ Craig B. Shaffer
                                                     Craig B. Shaffer
                                                     United States Magistrate Judge
Case 1:03-cr-00023-MSK Document 57 Filed 03/30/06 USDC Colorado Page 2 of 2




United States v. Scott Kimball
Case Number 03-cr-00023-MSK


               FINDINGS OF FACT, CONCLUSIONS OF LAW and REASONS
                            FOR ORDER OF DETENTION

        This matter comes before the court on a Petition for Issuance of Arrest Warrant for
Violation of Supervised Release. The Petition alleges that on December 1, 2003, the defendant
was placed on supervision by District Judge Kreiger, with the special condition that the defendant
shall continue in his current course of mental health treatment until released by the treating
physician.

        During a hearing on March 30, 2006, the defendant waived his right to a preliminary
hearing under Rule 32.1 of the Federal of Criminal Procedure, and did not present any
information relating to the issue of detention. The defendant, through counsel, also advised the
court that he was not contesting the government’s request for detention. Based upon the facts
alleged in the Petition and in light of the defendant’s waiver, the court finds that probable cause
exists to believe that the defendant violated one or more conditions of his release.

       Under Rule 32.1, the court “may release or detain the [defendant] under 18 U.S.C. §
3143(a) pending further proceedings. The burden of establishing that the person will not flee or
pose a danger to any other person or to the community rests with the [defendant].”

        In making my findings of fact, I have taken judicial notice of the information set forth in
the Petition for Issuance of Arrest Warrant, and the entire court file. I further note the
defendant’s decision not to contest detention at this time. Weighing all of the information
presently before the court, I find that defendant has failed to sustain his burden under Rule 32.1. I
specifically note that the Petition indicates that the defendant failed to report to his supervising
officer when directed and further failed to notify the supervising officer of a change in his
residence. Based upon the latter violation, the supervising officer was unable to ascertain the
defendant’s whereabouts. The Petition also alleges that the defendant left the District of
Colorado without prior permission on November 21, 2005 and failed to disclose that travel to the
supervising officer for approximately 30 days. Given the defendant’s apparent failure to comply
with the conditions of supervised release imposed by the District Court, I find there is no
combination of conditions that I could set that would properly assure the defendant’s appearance
at further proceedings in this case.
